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 7   United States of America

 8
 9                              IN THE UNITED STATES DISTRICT COURT

10                                 EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                              CASE NO. 1:11-cr-00026 LJO
13                                 Plaintiff,               STIPULATION TO CONTINUE
                                                            SENTENCING HEARING; FINDINGS
14   v.                                                     AND ORDER
15   JERIEL SALINAS,                                        DATE: May 12, 2014
                                                            TIME: 8:30 a.m.
16                                 Defendant,               JUDGE: Hon. Lawrence J. O’Neill
17

18                                              STIPULATION
19          The United States of America, by and through its counsel of record, and defendant, by and
20 through his counsel of record, hereby stipulate as follows:

21
            1.       By previous order, this matter was set for sentencing on February 24, 2014 at 8:30
22
     a.m.
23
            2.       By this stipulation, the parties now move to continue the sentencing hearing to
24

25 May 12, 2014 at 8:30 a.m. before United States District Judge Lawrence J. O’Neill.
26          3.       The continuance of the sentencing hearing is being requested by the defendant. The

27 defendant has proposed to provide information to the government regarding pending matters in this

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                                                        1
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     case. The defendant needs additional time to consult with counsel and to meet with and provide his
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     information to the government. The parties would then need time to evaluate the provided
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 3 information in the context of the pending matters in this case, and in light of the applicable factors at

 4 sentencing. The defendant requests that the sentencing hearing be continued to May 12, 2014 in the

 5 interest of justice to provide sufficient time for these steps to be completed.

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            4.       The government has no objection to defendant’s request to continue the sentencing
 7
     hearing.
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            5.       The parties believe that the requested continuance is in the interest of justice and
 9

10 would likely result in a more efficient sentencing proceeding.

11          6.       The parties further stipulate and jointly request that the Court extend the deadline to

12 submit informal objections to the Pre-Sentence Report (PSR) to three weeks prior to the continued

13 sentencing date, and extend the deadline to file formal objections to the PSR to one week prior to the

14
     continued sentencing date.
15
     IT IS SO STIPULATED.
16

17 DATED:            February 4, 2014
18                                          BENJAMIN B. WAGNER
                                            United States Attorney
19
                                            /s/ Henry Z. Carbajal III
20                                          HENRY Z. CARBAJAL III
                                            Assistant United States Attorney
21

22 DATED:            February 4, 2014
23
                                            /s/Eric K. Fogderude
24                                          ERIC K. FOGDERUDE
                                            Counsel for Defendant
25                                          JERIEL SALINAS
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 1                                                ORDER
 2
            The Court has reviewed and considered the stipulation of the parties to continue the
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     sentencing hearing in this case. Good cause appearing, IT IS ORDERED that the sentencing hearing
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     as to defendant Jeriel Salinas is continued from February 24, 2014 to May 12, 2014 at 8:30 a.m., and
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     that the deadlines to submit informal objections and to file formal objections to the Pre-Sentence
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     Report are extended as set forth above.
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 8 IT IS SO ORDERED.
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        Dated:     February 5, 2014                         /s/ Lawrence J. O’Neill
10                                                     UNITED STATES DISTRICT JUDGE

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